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Whn;d{u_ "Jp.

IN THE UNITED STATES DISTRICT COURT qwlz? Pq _.
FOR THE WESTERN DISTRICT OF TENNESSE&§“J" l J'|'
WESTERN DIVISION

 

 

ANTOINETTE CORUM,
Plaintiff,
vs. No. OQ-ZBlT-Ma/P

RODERICK PAIGE, SECRETARY,
UNITED STATES DEPT. OF ED.,

Defendant.

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ORDER DENYING MOTION TO ALTER OR AMEND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff, Antoinette Corum, filed this p;Q_ §§ complaint
arising from the alleged overpayment of student loans. On May 20,
2005, the Court granted the Defendant's motion to dismiss, holding
that Plaintiff's action is barred by the statute of limitations.
§§§ 28 U.S.C. § 24Ol(a).1 On June 3, 2005, the Plaintiff filed an
irregular document requesting that the Court reconsider its order
of dismissal. The Court construes the document as a motion to
alter or amend the judgment, pursuant to Fed. R. Civ. P. 59(e).

Plaintiff contends that the statute of limitations does “not

apply to this case . . . because every day since 1990, the U.S.

 

1 The Clerk inadvertently neglected to enter a judgment. That omission

should be rectified immediately.
Tms document entered on the docks sheet In complian
with Hule 58 and/ur 79{3) FHCP on ge " §§ » 05}6

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Dept. Of Ed. Has been making [her] life a living hell." The
Court’s order of dismissal stated as follows:

Although Congress has expressly abrogated that statute of

limitations applicable to the right of action under the

Higher Education Act of the government and affiliated

institutions to seek recovery of outstanding loans from

borrowers, no such provision was extended to borrowers’
rights against the United States. See 20 U.S.C. § lOQla.

This absence indicates an intent that actions against the

United States remain confined to the applicable

limitations period.

Order of dismissal, docket entry l3, pp. 5-6. Plaintiff knew, at
the latest, on May l, 1995, the date her income tax refund was
withheld, that the Department of Education had not extinguished her
debt.

Accordingly, the motion does not contain any basis for the
Court to alter its original determination that the complaint is
time-barred. Accordingly, Defendant’s motion to dismiss was
properly granted and plaintiff is not entitled to relief under Rule
59{e). The motion is DENIED and, the Clerk shall immediately
prepare and enter its judgment.

The final issue to be addressed is whether plaintiff should be
allowed to appeal this decision in forma pauperis. Twenty-eight
U.S.C. § 1915(a)(3) provides that any appeal may not be taken in
forma pauperis if the trial court certifies in writing that it is
not taken in good faith. The good faith standard is an objective
one. Copoedge v. United States, 369 U.S. 438, 445 (1962}.

It would be inconsistent for a district court to determine

that a complaint is time-barred, yet has sufficient merit to

support an appeal in forma pauperis. See Williams v. Kullman, 722

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F.Zd 1048, 1050 n.l (2d Cir. 1983). The same considerations that
led the Court to grant defendant's motion to dismiss also compel
the conclusion that an appeal would be frivolous. lt is therefore
CERTIFIED, pursuant to 28 U.S.C. § 1915{a)(3), that any appeal in
this matter by plaintiff is not taken in good faith, and plaintiff
may not proceed on appeal in fg;ma pagpe;i§.

The Sixth Circuit Court of Appeals decisions in McGore v.
Wrigglesworth, 114 F.3d 601 (6th Cir. 1997), and Floyd v. United
States Postal Service,r 105 F.3d 274 (6th Cir. 1997), apply to any
appeal filed by the plaintiff in this case. lf Corum files a
notice of appeal, she must pay the entire $255 filing fee required
by 28 U.S.C. §§ 1913 and 1917.2 The entire filing fee must be paid
within thirty days of the filing of the notice of appeal.

By filing a notice of appeal the plaintiff becomes liable for
the full amount of the filing fee, regardless of the subsequent
progress of the appeal. lf Corum fails to comply with the above
assessment of the appellate filing fee within thirty days3 of the

filing' of the notice of appeal or the entry of this order,

 

2 The fee for docketing an appeal is $250. See Judicial Conference
Schedule of Fees, 1 l, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 191?,
a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari 35
shall be paid to the clerk of the district court, by the appellant
or petitioner.

3 The district court may extend this deadline one time by thirty days
if the motion to extend is filed within the meaning of Houston v. Lack, 487 U.S.
266 (1988), and Fed. R. App. P. 4{c) before the expiration of the original
deadline. McGore, 114 F.Bd at 610.

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whichever occurs later, the district court will notify the Sixth
Circuit, who will dismiss the appeal. If the appeal is dismissed,
it will not be reinstated once the fee is paid. McGore, 114 F.3d

at 610.

IT is so oRDERED this 1“‘& day of J:& z)O/’,L,'_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:04-CV-02817 Was distributed by fax, mail, or direct printing on
June 28, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

